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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                           WESTERN DIVISION AT DAYTON

  DAYTON AREA CHAMBER OF
  COMMERCE, et al.,
                 Plaintiffs,                            No. 3:23-cv-00156-MJN-PBS
                 v.                                      Judge Michael J. Newman
  XAVIER BECERRA, et al.,                           Magistrate Judge Peter B. Silvain, Jr.
                 Defendants.



    PLAINTIFFS’ RESPONSE TO DEFENDANTS’ NOTICE OF SUPPLEMENTAL
                             AUTHORITY

       The March 1 decision of the district court in AstraZeneca Pharmaceuticals LP v.

Becerra, No. 1:23-cv-00931-CFC, 2024 WL 895036 (D. Del.), should have no effect on this

Court’s decision in this case. See Dkt. 95 (Defendants’ notice of supplemental authority

regarding AstraZeneca); Dkt. 95-1 (AstraZeneca slip op. (“Op.”)). The AstraZeneca suit is very

different from Plaintiffs’ suit, and the AstraZeneca decision thus focuses on issues not presented

here and, conversely, does not address many key issues that are presented here.

       First, AstraZeneca primarily challenged CMS’s guidance regarding the Inflation

Reduction Act’s drug price-control program. Plaintiffs here, in contrast, challenge only the

constitutionality of the statute and have not brought a constitutional or statutory challenge to

CMS’s guidance. Most of the parties’ briefing and most of the court’s decision in AstraZeneca is

therefore not relevant to this case. See Op. 16–34 (addressing challenges to CMS guidance).

       Second, and relatedly, AstraZeneca did not challenge the constitutionality of the statute

under the First Amendment, the Excessive Fines Clause, Congress’s enumerated powers, or the

Constitution’s separation of powers. The AstraZeneca decision thus does not address any of



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those claims raised by Plaintiffs here.

       Third, although AstraZeneca did raise a due process challenge to the statute, there are

important differences between that case and this case, as AstraZeneca did not raise—and the

court did not address—key arguments that Plaintiffs have squarely presented here.

       For example, while the court rejected AstraZeneca’s due process claim based on its

conclusion that “participation in Medicare is not involuntary,” Op. 44, AstraZeneca did not raise,

and the court did not grapple with, the arguments that Plaintiffs have presented here regarding

National Federation of Independent Business v. Sebelius (NFIB), 567 U.S. 519 (2012), and the

unconstitutional-conditions doctrine. NFIB was cited only in AstraZeneca’s reply brief, and even

then only one time in a single sentence at the end of that brief, and AstraZeneca did not develop

any argument regarding the concept of unconstitutional conditions. See 1:23-cv-00931-CFC (D.

Del.), Dkt. 58 (plaintiffs’ reply brief) at 50; see generally id. Dkt. 19 (plaintiffs’ opening brief).

In contrast, Plaintiffs have argued at length that, regardless of whether Medicare in general was

or is voluntary, the IRA’s price-control program is a “new program” that leaves Plaintiffs’

members “no real option.” Dkt. 64 at 21 (citing NFIB, 567 U.S. at 581–87); see also id. at 33–35;

Dkt. 90 at 40–49. And Plaintiffs have relied on binding Sixth Circuit precedent applying the

unconstitutional-conditions doctrine to the Due Process Clause in analogous circumstances. See,

e.g., Dkt. 64 at 27–28, 31–32 (citing R.S.W.W., Inc. v. City of Keego Harbor, 397 F.3d 427 (6th

Cir. 2005)).

       In addition, the AstraZeneca court did not address the statutory window of 11 to 23

months during which a manufacturer is legally compelled to remain in the price-control program

before a withdrawal from federal healthcare programs takes effect. See Op. 34–44 (addressing

due process claim but not mentioning this issue); Dkt. 64 at 28–30; Dkt. 90 at 49–50. The court



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also did not address the fact that a manufacturer cannot withdraw a drug selected for

“negotiation” from the program—on any timetable—without losing Medicare coverage for its

entire corporate family’s entire portfolio of drugs. See Op. 34–44 (addressing due process claim

but not mentioning this issue); Dkt. 64 at 15 & n.9; Dkt. 90 at 48–49. And AstraZeneca made no

mention of Michigan Bell Telephone Co. v. Engler, 257 F.3d 587 (6th Cir. 2001), which is

binding precedent here but not in that court.

        In sum, the AstraZeneca decision should have no bearing on this Court’s disposition of

this very different suit.




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Dated: March 7, 2024                 Respectfully submitted,

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                                  CERTIFICATE OF SERVICE

       I hereby certify that on March 7, 2024, a true and correct copy of the foregoing Plaintiffs’
Response to Defendants’ Notice of Supplemental Authority was electronically filed with the Clerk
of Court using the CM/ECF system which will send notification to all counsel of record.

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